         Case 2:21-cv-03051-WB Document 10 Filed 10/20/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 KEVIN SIZER,                                             CIVIL ACTION
                       Plaintiff,

               v.

 CITY OF PHILADELPHIA                                     NO. 21-3051
 (DEPARTMENT OF PRISONS),

                       Defendants.


                                           ORDER

      AND NOW, this 20th day of October, 2021, upon consideration of the Defendant’s

Motion to Dismiss (ECF No. 3) and Plaintiff’s Response thereto (ECF No. 6), IT IS HEREBY

ORDERED that:

    1. The Motion is DENIED as to Count I.

    2. The Motion is GRANTED as to Count II insofar as it seeks monetary relief, but

       DENIED to the extent it seeks equitable relief.

    3. The Motion is GRANTED as to Count III, and Count III of the Complaint is

       DISMISSED WITHOUT PREJUDICE, with leave to amend.



                                                   BY THE COURT:


                                                   /s/Wendy Beetlestone, J.


                                                   WENDY BEETLESTONE, J.
